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 1   Baruch C. Cohen, Esq. (SBN 159455)
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 2           A Professional Law Corporation
     4929 Wilshire Boulevard, Suite 940
 3   Los Angeles, California 90010
     (323) 937-4501        Fax (888) 316-6107
 4   e-mail: baruchcohen@baruchcohenesq.com

 5   Attorney For Defendant Guy Griffithe

 6

 7                              UNITED STATES BANKRUPTCY COURT

 8                                CENTRAL DISTRICT OF CALIFORNIA

 9                                        SANTA ANA DIVISION

10

11    In re                                             Case No. 8:19-bk-12480-TA

12    GUY GRIFFITHE,                                    Adv. 8:19-ap-01199-TA

13            Debtor                                    Before the Honorable Theodor Albert
      _________________________________
14                                                      Chapter 7
      JOSEPH SAMEC,
15                                                      MOTION TO WITHDRAW AS
                           Plaintiff                    COUNSEL OF RECORD FOR
16                                                      DEFENDANT GUY GRIFFITHE;
      vs.                                               DECLARATION OF BARUCH C.
17                                                      COHEN
      GUY GRIFFITHE
18                                                      [No Hearing Required per LBR 9013-1(p)(4)]
                          Defendant
19

20             TO THE HONORABLE JUDGE THEODOR ALBERT, PLAINTIFF JOSEPH SAMEC AND

21   HIS ATTORNEYS OF RECORD, AND DEFENDANT GUY GRIFFITHE:

22             PLEASE TAKE NOTICE that Baruch C. Cohen, Esq. (hereinafter referred to as “Cohen”),

23   who is the counsel of record herein for the Defendant Guy Griffithe (“Defendant”) will, and hereby

24   does, move for an Order under Local Bankruptcy Rule 2091-1(a)(1) allowing Cohen to withdraw as

25   Defendant’s Counsel in this Adversary Case.

26             This Motion is based upon the grounds that substantial irreconcilable differences have

27   developed and now persist regarding, among other things, the terms of Cohen’s retainer and the

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 1   services to be performed thereunder (the exact nature of which is being withheld so as to ensure no

 2   undue prejudice), such that Cohen is no longer able to effectively represent Defendant’s interests.

 3   Defendant was advised and warned - in writing - of all upcoming deadlines.

 4             This Motion is based upon this Notice, the attached Memorandum of Points and Authorities

 5   and accompanying Declaration of Baruch C. Cohen, and such other evidence and argument as may

 6   be presented at the hearing on this Motion.

 7             PLEASE TAKE FURTHER NOTICE that pursuant to LBR 9013-1(o) no hearing is required.

 8   If you wish to oppose this Motion you must file a written response and request for hearing with the

 9   Court and serve it no later than after the date stated on the Proof of Service of this Motion plus 3

10   additional days if you were served by mail, electronically, or pursuant to FRCP 5(d)(2)(D), (E), or

11   (F). Your opposition must comply with LBR 9013-1(f) and (o). Failure to timely respond may be

12   deemed as acceptance of Motion and withdrawal by Baruch Cohen as Defendant's attorney of record.

13

14   DATED:           February 13, 2020            LAW OFFICE OF BARUCH C. COHEN
                                                   A Professional Law Corporation
15
                                                   By     /S/ Baruch C. Cohen
16                                                 Baruch C. Cohen, Esq.
                                                   Attorney For Defendant Guy Griffithe
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 1   1.     MEMORANDUM OF POINTS & AUTHORITIES

 2          a.      FACTS

 3          Notwithstanding the status of the case, over the last few months, circumstances have

 4   substantially changed between the Defendant and Cohen as to, among other things, the terms of

 5   Cohen’s retainer and the services to be performed thereunder, such that Cohen is no longer financially

 6   able to effectively represent Defendant in this action. Based thereon, Cohen has good cause in seeking

 7   to withdraw from his representation of Defendant, and since the trial on this case has not been set yet,

 8   no prejudice will be inflicted on any party herein. Defendant was advised and warned - in writing -

 9   of all upcoming deadlines.

10          Rule 3-700(c) of the California Rules of Professional Conduct provides, in part, that an

11   attorney may withdraw from representing a client if the client "(d) by other conduct renders it

12   unreasonably difficult for the member to carry out the employment effectively, or ... (f) "breaches an

13   agreement or obligation to the member as to expenses or fees." Based upon Defendant’s conduct as

14   set forth above, it is impossible to effectively, represent Defendant because Defendant is not in

15   compliance with the Retainer Agreement. Moreover, Mr. Cohen chooses to no longer represent

16   Defendant when Defendant is unable to pay Mr. Cohen's fees. There is cause to withdraw when the

17   client fails to pay the required attorney 's fees. Jackie v . Sturkie, 255 F. Supp. 2d 1096, 1098 (N.D.

18   Cal. 2003), FTC v. Pacific Medical Clinics, 1992 WL 12177 (S.D.Cal. April 9, 1992) Cal. Rules of

19   Prof. Conduct 3-700(C)(l )(f). Feruzzo v. Superior Court, 104 Cal. App. 3d 501, 540 (1980). Here,

20   Mr. Cohen is a solo practitioner and cannot afford to finance his clients’ expensive litigation.

21          b.      GOOD CAUSE EXISTS TO ALLOW COHEN TO WITHDRAW:

22          Due to various circumstances, the nature and extent of which have not been detailed herein

23   but can be disclosed in chambers should the court requires it, the attorney-client relationship between

24   Defendant and Cohen has broken down irreparably such that Defendant should and must obtain

25   alternative counsel immediately.

26          c.      CONCLUSION

27          For the foregoing reasons, Cohen respectfully requests that this Court grant the within Motion

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 1   and issue an Order allowing Cohen to withdraw as Defendant’s attorney of record in the this

 2   adversary immediately.

 3

 4   DATED:        February 13, 2020          LAW OFFICE OF BARUCH C. COHEN
                                              A Professional Law Corporation
 5
                                              By     /S/ Baruch C. Cohen
 6                                            Baruch C. Cohen, Esq.
                                              Attorney For Defendant Guy Griffithe
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 1                            DECLARATION OF BARUCH C. COHEN

 2        I, BARUCH C. COHEN, declare and state as follows:

 3   1.   The facts stated below are true and correct to the best of my personal knowledge and if called

 4        upon to testify to them, I could and would competently do so. I have reviewed my file, the

 5        court dockets for this Adversary Proceeding, and the Defendants's Petition, Schedules and

 6        Statement of Financial Affairs as well as all other documents filed in the Chapter 7 case and

 7        the Adversary case. I am familiar with all of their contents.

 8   2.   I am a member in good standing and eligible to practice before the following courts:

 9        California State Supreme Court; United States Court of Appeals - Ninth Circuit; Bankruptcy

10        Appellate Panel; United States District Courts: Central District of California; Eastern District

11        of California; Northern District of California; and Southern District of California.

12   3.   I am the principal shareholder and President of The Law Office of Baruch C. Cohen, a

13        Professional Law Corporation, located at 4929 Wilshire Boulevard, Suite 940, Los Angeles,

14        California 90010.

15   4.   I represent Defendant Guy Griffithe.

16   5.   This declaration is in support of MOTION TO WITHDRAW AS COUNSEL OF

17        RECORD for Defendant Guy Griffithe.

18   6.   Notwithstanding the status of the case, over the last few months, circumstances have

19        substantially changed between the Defendant and I as to, among other things, the terms of my

20        retainer and the services to be performed thereunder, such that I am no longer financially able

21        to effectively represent Defendant in this action. Based thereon, I have good cause in seeking

22        to withdraw from my representation of Defendant, and since the trial on this case has not been

23        set yet, no prejudice will be inflicted on any party herein. Defendant was advised and warned -

24        in writing - of all upcoming deadlines.

25   7.   I am also a solo practitioner and cannot afford to finance Defendant’s expensive litigation.

26   8.   Due to various circumstances, the nature and extent of which have not been detailed herein

27        but can be disclosed in chambers should the court require it, the attorney-client relationship

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 1           between Defendant and I have broken down irreparably such that Defendant should and must

 2           obtain alternative counsel immediately.

 3   9.      For the foregoing reasons, I respectfully request that this Court grant the within Motion and

 4           issue an Order allowing me to withdraw as Defendant’s attorney of record in this adversary

 5           immediately.

 6

 7           I declare under penalty of perjury under the laws of the State of California that the foregoing

 8   is true and correct.

 9           Executed February 13, 2020, at Los Angeles, California.

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11                                          By     /S/   Baruch C. Cohen
12                                                              Baruch C. Cohen

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                  4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: MOTION TO WITHDRAW AS COUNSEL OF RECORD FOR
DEFENDANT GUY GRIFFITHE will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
2/13/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Thomas H Casey (TR)                      msilva@tomcaseylaw.com, thc@trustesolutions.net
United States Trustee (SA)               ustpregion16.sa.ecf@usdoj.gov


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 2/13/2020, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Joseph Samec, 838 N Charter Dr, Covina, CA 91724



                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2/13/2020,, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


Honorable Theodor C. Albert, 411 West Fourth Street, Suite 5085, Santa Ana, CA 92701-4593


                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/13/2020                      Baruch C. Cohen, Esq.                                           /s/ Baruch C. Cohen
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
